Case 2:04-cv-02181-.]PI\/|-tmp Document 103 Filed 05/16/05 Page 1 of 4 Page|D 142

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coMMISsIoN, ) W'D' ""r`“""j'p"‘:"°
)
Plaintiff, )
)
v. ) No. 04_21311)/An
)
FXTRAI)E FINANCIAL, LLC, et al., )
)
Defendants. )

 

ORDER GRANTING MOTION TO COMPEL DISCOVERY
AGAINST DEFENDANT JEFFREY A. MISCHLER

 

Before the Court is Plaintiff’s Motion to Compel Discovery against Defendant Jeffrey A.
Mischler filed on February 18, 2005. On March 14, 2005, the Court entered an Order Granting
Motion for Extension of Time for Mr. Mischler to respond to the instant Motion. On March 15,
2005, Mr. Mischler filed a Supplemental Motion for Extension of Tinie to Respond to the instant
Motion. Again, the Court granted the Supplernental Motion, giving Mr. Mischler until April 15,
2005 to respond to this Motion.

Although the Court granted him two extensions of time to respond to the instant motion,
Mr. Mischler failed to file a response to the motion as required by Local Rule 7.2(a)(2). “Failure
to timely respond to any motion, other than one requesting dismissal of a claim or action, may be
deemed good grounds for granting the motion.” Local Rule 7.2(a)(2). As such, for good cause
Shown and because Mr. Mischler did not respond to the motion, the Motion to Compel is

GRANTED. Mr. Mischler shall provide complete responses to Plaintiff’ s First Set of

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This document entered on the docket sheet in compliance
with Rule 58 and,"or ?9(3) FHCP on ‘ '

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lnterrogatories and Request for Production of Documents Within 15 days of entry of this Order.

Mr. Mischler is reminded that the failure to comply with an Order of the Court can be grounds

for the imposition of sanctions

IT IS SO ORDERED.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: M/h.l, //'_ 200§

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 103 in
case 2:04-CV-02181 Was distributed by faX, mail, or direct printing on
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ssSEE

 

Joseph J. Cecala
222 Albion
Park Ridge7 IL 60068

Gary A. Vanasel<

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Mary Jo Sibbitt
21 W. 611 Glen Park Rd
Glen Ellyn7 IL 60137

W. Michael Richards

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ

165 Madison Ave.
Ste. 2000
l\/lemphis7 TN 38103

Benjamin R. Ogletree
CHADBOURNE & PARKE LLP
1200 NeW Hampshire Ave.

Ste. 300

Washington, DC 20036

Rachel A. Hayes

COl\/[MODITY FUTURES TRADING COl\/[MISSION
TWo Emanuel Cleaver ll Blvd.

Ste. 300

Kansas City, MO 64112

Charles D. Marvine

COl\/[MODITY FUTURES TRADING COl\/[MISSION
TWo Emanuel Cleaver ll Blvd.

Ste. 300

Kansas City, MO 64112

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Richard Glaser

1155 21st Streetm N.W.
Division of Enforcement
Washington, DC 205 81

Thomas J. Sjoblom
CHADBOURNE & PARKE LLP
1200 NeW Hampshire Ave.

Ste. 300

Washington, DC 20036

Jeffrey A. Mischler
8653 Heatherly Cove
Germantown7 TN 3 813 8

Honorable Bernice Donald
US DISTRICT COURT

